              Case 2:11-cr-00323-JAM Document 179 Filed 01/20/15 Page 1 of 2


 1 Dina L. Santos, SBN 204200
   A Professional Law Corp.
 2 428 J Street, Suite 359
   Sacramento, CA 95814
 3 Telephone: (916) 447-0160
   Facsimile: (916) 447-2988
 4

 5 Attorneys for:
   WILLIAM BOHAC
 6

 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                          CASE NO. 11-CRS-0323-JAM

11                                   Plaintiff,         STIPULATION AND ORDER RESETTING J&S
                                                        TO 2/24/15
12                           v.

13   WILLIAM BOHAC,
                                     Defendant.
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15
                                                  STIPULATION
16
            1.      It is hereby stipulated by and between Assistant United States Attorney JARED DOLAN,
17
     and Attorney Dina L. Santos, Counsel for Defendant WILLIAM BOHAC, that the current date
18
     scheduled for January 20, 2015, be vacated and the matter be continued to this Court’s criminal calendar
19
     on February 24, 2015, at 9:30 a.m. for judgment and sentencing.
20
     Dated: January 16, 2015                                BENJAMIN B. WAGNER
21                                                          United States Attorney

22
                                                            /s/ Jared Dolan
23                                                          JARED DOLAN
                                                            Assistant United States Attorney
24

25 Dated: January 16, 2015                                  /s/ Dina L. Santos
                                                            DINA SANTOS, ESQ.
26                                                          Attorney for William Bohac

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      Stip. & [Proposed] Order Continuing J&S           1
             Case 2:11-cr-00323-JAM Document 179 Filed 01/20/15 Page 2 of 2


 1

 2                                             ORDER

 3         IT IS SO FOUND AND ORDERED this 16th day of January, 2015

 4                                                   /s/ John A. Mendez

 5
                                                     HON. JOHN A. MENDEZ
 6                                                   UNITED STATES DISTRICT COURT JUDGE

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     Stip. & [Proposed] Order Continuing J&S     2
